      Case 4:20-cr-40012-SOH Document 19              Filed 11/09/20 Page 1 of 3 PageID #: 37

                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    TEXARKANA DIVISION

 UNITED STATES OF AMERICA                                                                  PLAINTIFF

 v.                                       Case No. 4:20-cr-40012

 CORD ROBERTSON GREEN                                                                   DEFENDANT

                                         ORDER OF DETENTION

       After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the

Court orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

 A.    Statement of Reasons for the Detention

       The Court orders the defendant’s detention because it finds:

       ☒    By a preponderance of the evidence that no condition or combination of conditions will
            reasonably assure the appearance of the defendant as required.
       ☒    By clear and convincing evidence that no condition or combination of conditions will
            reasonably assure the safety of any other person and the community.

 B.    Findings of Fact

       The Court’s announced findings at the dentition hearing are included herein by reference. The
       Court’s findings are based on the evidence and information presented in Court and which was
       contained in the Pretrial Services Report, including the following:

       ☒    (1)   Nature and Circumstances of the offense charged:
            ☐     (a) The crime, Possession with intent to distribute methamphetamine
            ☐     (b) The offense is a crime of violence.
            ☐     (c) The offense involves a narcotic drug.
            ☐     (d) The offense involves a large amount of controlled substances.
            ☒     (e) Other facts: Defendant is charged with failure to register as a sex offender. The
                       underlying offense was carnal knowledge of a minor.
       ☒    (2)   The weight of the evidence against the defendant is substantial.
       ☒    (3)   The history and characteristics of the defendant including:
                  (a) General Factors:
                   ☐ The defendant appears to have a mental condition which may affect whether the
                        defendant will appear.
                   ☐ The defendant has no known family ties in the area.
                   ☒ The defendant has no known steady employment.
                   ☒ The defendant has no known substantial financial resources.
                   ☐ The defendant is not a long-time resident of the community.
                   ☐ The defendant does not have any known significant community ties.
                   ☒ Past conduct of the defendant:
                         ☐ The defendant has a history relating to drug abuse.
Case 4:20-cr-40012-SOH Document 19           Filed 11/09/20 Page 2 of 3 PageID #: 38

                ☐ The defendant has a history relating to alcohol abuse.
                ☒ The defendant has a significant prior criminal record, including prior felony
                  convictions for aggravated flight from a law enforcement officer, carnal
                  knowledge of a minor, distribution of a controlled substance and failure to
                  register as sex offender. Additionally, defendant has been arrested for
                  fleeing or resisting law enforcement officers on at least 6 occasions.
                ☐ The defendant has a prior record of failure to appear at court proceedings.
                ☒ The defendant has a history of violating probation and/or parole, including:
                  Defendant has at least 4 prior instances revocations. He was last paroled in
                  April 2020 and violated the terms of this parole within 48 hours of his
                  release. He was on a state bond at the time of the instant offense.

         (b) Whether the defendant was on probation, parole, or release by a court;
               At the time of the current arrest, the defendant was on:
                ☐ Probation
                ☒ Parole
                ☐ Release pending trail, sentence, appeal, or completion of sentence.
         (c) Other Factors:
                ☐ The defendant is an illegal alien and is subject to deportation.
                ☐ The defendant is an illegal alien and is subject to deportation.
                     Other: The Court has no confidence, based on defendant’s prior conduct,
                ☒
                     that he will comply with any condition or set of conditions.
     (4) The nature and seriousness of the danger posed by the defendant’s release are as
         follows:
         Defendant has continued to traffic in controlled substances while subject to terms and
         conditions of parole.
     (5) Rebuttable Presumptions
         In determining that the defendant should be detained, the court also relied on the
         following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e), which the court
         finds the defendant has not rebutted:
          ☐ a. The crime charged is one described in § 3142(f)(1).
                ☐ (A) a crime of violence; or
                     (B) an offense for which the maximum penalty is life imprisonment or
                ☐
                     death; or
                     (C) a controlled substance violation that has a maximum penalty of ten
                ☐
                     years or more; or
                ☐ (D) A felony after the defendant had been convicted of two or more prior
                     offenses described in (A) through (C) above, and the defendant has a prior
                     conviction of one of the crimes mentioned in (A) through (C) above which
                     is less than five years old and which was committed while the defendant
                     was on pretrial release.
          ☐ b. There is probable cause to believe that defendant committed an offense for
                  which a maximum term of imprisonment of ten years or more is prescribed
                ☐ in the Controlled Substances Act, 21 U.S.C. §§ 801, et seq.,
                ☐ the Controlled Substances Import and Export Act, 21 U.S.C. §§ 951, et seq.,
                ☐ the Maritime Drug Law Enforcement Act, 46 U.S.C. App. §§ 1901, et seq.,
                     or
                ☐ an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b.
                ☐ an offense involving a minor under 18 U.S.C. §§ 1201, 1591, 2241, 2242,
                     2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
     Case 4:20-cr-40012-SOH Document 19                Filed 11/09/20 Page 3 of 3 PageID #: 39

                           2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422,
                           2423, or 2425.
C.    Additional Directives

      Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

      The defendant be committed to the custody of the Attorney General for confinement in a
      corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
      or being held in custody pending appeal;

      The defendant be afforded reasonable opportunity for private consultation with counsel; and

      That, on order of a court of the United States, or on request of an attorney for the Government, the
      person in charge of the corrections facility in which the defendant is confined deliver the defendant
      to a United States Marshal for the purpose of an appearance in connection with a court proceeding.

IT IS SO ORDERED.

SIGNED this 9th day of November 2020.




                                                     /s/Barry A. Bryant
                                                     HON. BARRY A. BRYANT
                                                     UNITED STATES MAGISTRATE JUDGE
